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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ASIAN AMERICANS ADVANCING
JUSTICE-CHICAGO, CHANGE ILLINOIS,
CHICAGO VOTES EDUCATION FUND,
COMMON CAUSE ILLINOIS, ILLINOIS
COALITION FOR IMMIGRANT AND
REFUGEE RIGHTS, and ILLINOIS
PUBLIC INTEREST RESEARCH GROUP
                                                          Case No. 1:20-cv-01478
EDUCATION FUND,
                                                        Judge Charles R. Norgle, Sr.
               Plaintiffs,
                                                   Magistrate Judge Jeffrey I. Cummings
v.

JESSE WHITE,
in his official capacity as the Illinois
Secretary of State, and ILLINOIS STATE
BOARD OF ELECTIONS,


               Defendants.

       JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiffs Asian Americans Advancing Justice-Chicago, CHANGE Illinois, Chicago

Votes Education Fund, Common Cause Illinois, Illinois Coalition for Immigrant and Refugee

Rights, Illinois Public Interest Research Group Education Fund, and Defendant Jesse White

(collectively, the “Parties”), having amicably resolved their differences pursuant to a Settlement

Agreement dated June 24, 2021, hereby jointly stipulate and agree to the dismissal with prejudice

of all claims in this action. The Parties further stipulate and agree that each party shall bear its

own costs and attorneys’ fees.
     Case: 1:20-cv-01478 Document #: 56 Filed: 06/28/21 Page 2 of 2 PageID #:718




Dated: June 28, 2021                         Respectfully submitted,

Chicago, Illinois

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